AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

1706 West English Road, Suite A
High Point, NC 27262

Case No, 1:21MJ180-1

Ne ee ee ee ee

APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A, incorporated by reference |

located in the Middle District of North Carolina , there is now concealed (identify the
person or describe the property to be seized):
See Attachment B, incorporated by reference

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
a evidence of a crime;
a contraband, fruits of crime, or other items illegally possessed;
rh property designed for use, intended for use, or used in committing a crime;
C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
26 U.S.C. 7206(1) Preparation of false tax return
26 U.S.C. 7206(2) Aiding and abetting preparation of false tax return
18 U.S.C. 371 Conspiracy to defraud the United States

The application is based on these facts:
See attached search warrant affidavit.

a Continued on the attached sheet.
O Delayed notice of days (give exact ending date if more than 30 days: ) is requested under
18 U.S.C, § 3103a, the basis of which is set forth on the attached sheet.

/s/ Special Agent Brett Barton
Applicant's signature

Brett Barton, Special Agent, Internal Revenue Service
Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone (specify reliable electronic means).
Date: 05/17/2021 1:42pm Qt

Judge's signature

 

City and state; Durham, North Carolina Joe L. Webster, United States Magistrate Judge
Printed name and title.

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AFFIDAVIT

Brett Barton, Special Agent with Internal Revenue Service (IRS)
Criminal Investigation (CI), United States Department of the
Treasury, first being duly sworn, depose and say:

1) I ama “federal law enforcement officer” within the meaning
of Rule 41(a) of the Federal Rules of Criminal Procedure. My
duties include ‘avestiaatlons of alleged criminal violations
relating to Financial Transaction Money Laundering (Title 18,
United States Code, Sections 1956 and 1957), The Bank Secrecy
Act (Title 31, United States Code, Sections 5313 and 5324),
and The Internal Revenue Code (Title 26, United States Code)

and related offenses.

2) I have been a special agent with the Internal Revenue
Service, Criminal Investigation since July 2020. I ama
graduate of Southern Wesleyan University with a bachelor’s
degree in accounting and business administration, and a
graduate of Clemson University with a Master of Professional
Accountancy degree with a concentration in assurance services.
I have been a Certified Public Accountant: in the state of
South Carolina since January 2013. I ama graduate of the
Criminal Investigator Training Program and the Special Agent
Investigative Techniques program at the Federal Law
Enforcement Training Center at Glynco, Georgia. Previously, I
was employed as a Special Agent with the South Carolina
Department of Revenue Criminal Investigation, as well as a
Special Agent with the Naval Criminal Investigative Service
(NCIS). I have had extensive training in financial
investigations which included the development of probable
cause for search warrants, analyzing financial documents, and

interviewing witnesses.

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3)

4)

5)

Based on the facts set forth in this Affidavit, your affiant
believes there is probable cause that Jerome Nwabuezé isa
tax-return preparer and that Nwabueze has committed violations
of Title 26, United States Code, Sections 7206(1) (preparing a
false tax return) and 7206(2) (aiding and assisting with the
preparation of a false return), and Title 18, United States
Code Sections 287 (false, fictious, or fraudulent claims
against the United States) and 371 (conspiracy to defraud the
United States).

Furthermore, your affiant believes there is probable cause
that evidence of the aforementioned crimes is located at 1706
West English Road, Suite A, High -Point, North Carolina. Your
affiant makes this Affidavit in support of the issuance of a
search warrant for 1706 West English Road, Suite A, High
Point, North Carolina, more particularly described in
Attachment A, to search for and seize evidence and fruits of
violations of Title 26, United States Code, Sections 7206(1)
(preparing a false tax return): and 7206(2) (aiding and
assisting with the preparation of a false return), and Title
18, United States Code Sections 287 (false, fictious, or
fraudulent claims against the United States) and 371
(conspiracy to defraud the United States).

The facts in this Affidavit come from my personal
observations, my training and experience, and information

obtained from other agents and witnesses. This Affidavit is

not all inclusive of the facts known to your Affiant.

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6)

7)

9)

Facts in Support of Probable Cause
Background
An Electronic Filer Identification Number (EFIN) is a number
issued by the Internal Revenue Service to firms that have been
approved as an authorized Internal Revenue Service e-file

provider.

A PTIN is an identification number that all paid tax return
preparers must use to file U.S. Federal Tax Returns or claims

for refund submitted to the IRS

An EIN is sometimes referred to as a Federal Tax
Identification Number, and is used to identify a business

entity.

The IRS Memphis Scheme Development Center (SDC) is a division
of the IRS with the primary function of detecting refund fraud

and return preparer schemes.

10) IRS-CI became apprised of Jerome Nwabueze through interviews

of a former associate and an affiliated return preparer.
Through these interactions, there were allegations of
fraudulent tax return preparation by Jerome Nwabueze. The most
current known tax return entities associated with Jerome
Nwabueze are Flew Services and Sammy Holdings. Information
for Jerome Nwabueze, as well as affiliated business entities
was sent to the IRS Memphis Scheme Development Center (SDC)

personnel for additional analysis, as further set forth below.

11) IRS data lists Jerome Nwabueze as the paid preparer for

eighty-eight (88) 2017 U.S..Individual Income Tax returns and
seventy-eight (78) 2018 U.S. Individual Income Tax Returns

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listing the firm name as Flew Services. IRS data lists Jerome
Nwabueze as the paid preparer for fifteen (15) 2018 U ie
Individual Income Tax returns, one hundred forty six (146)
2019 U.S. Individual Income Tax returns, and one hundred
forty-nine (149) 2020 U.S. Individual Income Tax Returns
listing the firm name as Sammy Holdings. These returns list
Electronic Filer Identification Numbers (EFIN) of 696304 which
is aseleusd to Flew Services and 793023 which is assigned to

Sammy Holdings.

12) The EFIN associated with Flew Services is 696304. EFIN 696304
was assigned to Flew Services with an effective date of
02/05/2014. The EFIN application listed the EIN of XX-XXXXXXX
and business name of Flew Services. Florine F. Lewis is
listed as the primary contact. The business address is shown
as 3974 Cane Garden Drive, Raleigh, NC 27610. A search of
North: Carolina Division of Motor Vehicles show an address of
3974 Cane Garden Drive, Raleigh, NC 27610 for Florine Lewis

and Jerome Nwabueze.

13) The EFIN associated with Sammy Holdings is 793023. EFIN
793023 was assigned to Sammy Holdings with an effective date
of 09/20/2018. The EFIN application listed the Employer
Identification Number (EIN) of XX-XXXXXXX and business name of
Sammy Holdings. Michael Iheme-Samuel is listed as the primary
contact. The business address is shown as 6015 Fergis Drive,
Katy, TX 77449. A search of data from the Texas Department of
Motor Vehicles lists a physical address of 6015 Fergus Drive,
Katy, Texas 77449 for Michael Iheme-Samuel.

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High Point Police Response to 1706 West English Road, High
Point, NC

14) On April 4, 2019, the High Point Police Department responded
to a public disturbance call at “Total Tax” located at 1706 W
English Rd., High Point, NC 27262. While responding to this
call, individuals pulled into the parking lot, one of them
bearing the initials S.P. S.P. provided a statement to an
officer with the High Point ReLide Department. According to
S.P., the IRS called him/her stating the IRS had received a
false/fake Form W-2 Wage and Tax Statement from Total Tax.
S.P. further explain he/she had never worked at Piedmont
Restaurant Group which was entered on his/her Form W-2 Wage

and Tax Statement.

15) $.P. later spoke with an investigator with High Point Police
Department regarding his/her 2018 Form 1040, U.S. Individual
Income Tax Return. The return stated S.P. was a student,
which S.P. stated he/she was not, and had not been in years.
S.P. provided the investigator with a copy of what he/she
received from the return preparer, which did not list a paid
preparer’s name. S.P. provided the investigator a document
showing fees and amounts relating to S.P.’s Form 1040, U.S.
Individual Income Tax Return. All the fees were associated
with a “Sammy Holdings.” The document also showed EFIN
793023. As noted prior, EFIN 793023 is associated with Sammy
Holdings. S.P. also provided the investigator with a copy of
the return received from the IRS. This return showed A.S. as
the tax preparer, and Sammy Holdings as the preparer firm name

with an address of 6015 Fergis Dr., Katy, TX 77449,

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IRS Complaints Related to Tax Preparation located at_ 1706 West

English Road, High Point, NC

16) On April 11, 2019, an individual identified as S.P. fileda
Form 14157 Return Preparer Complaint with the IRS for the 2018
tax period. S.P. is the same individual identified in the
High Point Police Report. In the complaint, S.P. identified
the return preparer as Jerome, and listed the address as 1706
W English Rd., High Point, NC 27262. S.P. listed the business
name as Total Tax at the same address as the preparer, as well
as listed the EFIN as 793023, the EIN as XX-XXXXXXX, and PTIN
as P01979486. The listed EFIN and EIN are assigned to Sammy
Holdings, and the PTIN is associated with A.S. S.P. checked
False Items /Documents as the reason for the complaint. S.P.
wrote in the comments he/she never worked at a company called

Piedmont Restaurant Group.

17) On December 27, 2019, an individual identified as W.S. filed
a Form 14157 Return Preparer Complaint and a Form 14157-A Tax
Return Preparer Fraud or Misconduct Affidavit with the IRS for
his/her 2018 tax period. In the complaint, W.S. identified
the return preparer as Remigus Nwabueze, and listed the
| address as 1706 A West English Rd., High Point, NC 27262.
W.S. Listed the business name as Flew Services, and listed the
| EIN as XX-XXXXXXX. As previously noted FEIN XX-XXXXXXX is
assigned to Flew Services. Regarding the reason for
complaint, W.S. stated a school credit had been claimed
without his/her consent, further noting he/she had not been to

school; therefore, he/she would not have a school credit

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Undercover Operation at 1706 West English Rd., High Point, NC

18) On March 25, 2021, an IRS-CI special agent acting in an
undercover capacity went to 1706 West English Road, Suite A,
High Point, North Carolina 27262 to have a 2020 Form 1040,
U.S. Individual Income Tax Return prepared. At the road, in
front of the business was a sign that read “Total Tax,” which
can been seen in Appendix A. The undercover agent (UCA)
presented a Form W-2 Wage and Tax Statement purporting to have
earned $39,763 with $0 in federal withholdings during 2020.
The UCA also claimed one dependent. The UCA did not provide
any additional income documents, nor any documents related to

education expenses.

19) The UCA went into what he/she believed to be Total Tax
Services at 1706 West English Road, Suite A, High Point, North
Carolina 27262. Upon entry the UCA inquired about whether the
UCA needed an appointment, to which the individual at the
front desk told the UCA, “No.” The individual at the desk had
the UCA fill out a client information sheet. The male at the
desk identified himself as “Hope.” Hope made a copy of the
UCA’s Form W-2 Wage and Tax Statement, driver’s license, and

Social Security card.

20) Prior to entering the back office, the UCA had to fill out a
sign in sheet outside the back office area. Upon completing
the client information sheet, the UCA was directed to the back
office area. Upon entering the back office, a black male
introduced himself to the UCA as Jerome Nwabueze. Jerome
Nwabueze prepared the UCA’s 2020 Form 1040, U.S. Individual

Income Tax Return.

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21) Jerome Nwabueze prepared the UCA’s 2020 Form 1040, U.S.
Individual Income Tax Return while the UCA sat in a chair
behind Jerome Nwabueze. Jerome Nwabueze used the client
information sheet and documents provided by the UCA to prepare
the 2020 Form 1040, U.S. Individual Income Tax Return. Jerome
Nwabueze asked a few questions about the UCA’s dependent as
well as filing status. Jerome Nwabueze asked the UCA how much
the UCA received from the stimulus. The UCA replied he/she
had received the full amount, further stating the UCA thought
he/she received $1,200 and $600. Jerome Nwabueze continued
preparing the 2020 Form 1040, U.S. Individual Income Tax
Return, and told the UCA his/her refund would be $4,163.
Jerome Nwabueze printed the 2020 Form 1040, U.S. Individual
Income Tax Return in front of the UCA, and had him/her sign
Form 8879 IRS e-file Signature Authorization. Jerome Nwabueze
gave the UCA a copy of the 2020 Form 1040, U.S. Individual
Income Tax Return, after which, the UCA left.the business.
Jerome Nwabueze did not review the 2020 Form 1040, U.S.

Individual Income Tax Return.

Observation of UCA

 

22) After leaving the business, the UCA was shown pictures of
Jerome Nwabueze from the North Carolina Division of Motor
Vehicles database. The UCA identified the individual in the
pictures, Jerome Nwabueze, as the individual who prepared the

UCA’s 2020 Form 1040, U.S. Individual Income Tax Return.
23) The UCA observed at least three (3) computers, two (2) desks,

and two (2) printers. Jerome Nwabueze prepared the UCA’s 2020
Form 1040, U.S. Individual Income Tax Return while the UCA

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waited in the room where the 2020 Form 1040, U.S. Individual

Income Tax Return was prepared.

UCA’s 2020 Form 1040, U.S. Individual Income Tax Return Filed
with the IRS

24) A check of IRS records showed that a 2020 Form 1040, U.S.
Individual Income Tax Return was filed with the IRS using the
UCA’s identifying information. The UCA’s 2020 Form 1040, U.S.
Individual Income Tax Return contained wages in the amount of
$39,763 on line one (1), as provided to Jerome Nwabueze. The
UCA’s 2020 Form 1040, U.S. Individual Income Tax Return also
claimed $1,500 in non-refundable education credits on line 20,
as well as $1,000 in refundable American Opportunity Credit
(“AOC”) (an education credit) on line 29. The UCA’s 2020 Form
1040, U.S. Individual Income Tax Return also claimed $1,100 in
Recovery Rebate Credits on line 30 and a refund amount of

$3,663 as shown on line 35a.

25) The paid preparer’s name listed on the UCA’s 2020 Form 1040,
U.S. Individual Income Tax Return is “MICHAEL THEME” dated
March 25, 2021. The firm’s name, address, EIN, PTIN, and
telephone number as shown on the UCA’s 2020 Form 1040, U.S.
Individual Income Tax Return is SAMMY HOLDINGS (name), 6015
FERGIS DRIVE, KATY, TX.27449 (address), None Listed (EIN),
P02220251 (PTIN) and (346) 666-9778 (telephone number). ‘The
email address and the Internet Protocol (IP) address
associated with the filing of the UCA’s 2020 Form 1040, U.S.
Individual Income Tax Return was J.bnwaz63@gmail.com and the

Internet Protocol (IP) 206.195.153.41.

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26) The UCA was given a paper copy of the 2020 Form 1040, U.S.

Individual Income Tax Return prepared by Jerome Nwabueze.

This copy provided by Jerome Nwabueze did not contain Form
8863 Education Credits or Form 8867 Paid Preparer’s Due
Diligence Checklist, which was electronically submitted to the

IRS on March 25, 2021.

27) Form 8863 Education Credits includes information regarding

the non-refundable and refundable portion of the AOC. The UCA
did not provide any information or backup documentation for
the AOC. Jerome Nwabueze did not ask the UCA any questions

about attending any post-secondary institution or having any

‘expenditures related to tuition or fees for a post-secondary

28)

institution. The UCA did not provide any Form 1098-T Tuition
Statement nor did the UCA provide Jerome Nwabueze with the
institution, “Texas Department of Justice,” as an institution

the UCA attended.

Form 8867 Paid Preparer’s Due Diligence Checklist was filed
with the IRS, but not given in the copy of the 2020 Form 1040,
U.S. Individual Income Tax Return provided to the UCA. Part
I, number 5 on Form 8867 Paid Preparer’s Due Diligence
Checklist references a table listing the documents provided by
the taxpayer which the preparer relied upon. The data table
referenced on Part I, number 5 on Form 8867 Paid Preparer's
Due Diligence Checklist filed with the IRS lists the
following: “School Records, Landlord Statement, Healthcare
Statement, Medical Records, Childcare Records, 1098-T Tuition
Statement, Receipts, Transcript.” The UCA did not provide any

of the listed documentation to Jerome Nwabueze.

29) Jerome Nwabueze claimed a Recovery Rebate Credit in the

amount $1,100 on line 30 of the UCA’s 2020 Form 1040, U.S.

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Individual Income Tax Return. Jerome Nwabueze asked the UCA
how much the UCA received from the stimulus. The UCA replied
he/she had received the full amount of the stimulus, further

stating the UCA thought he/she received $1,200 and $600.

Observations From Video Footage

 

30) Per review of the video footage captured during the
undercover operation, the back office where the UCA’s 2020
Form 1040, U.S. Individual Income Tax Return was prepared has
a door in the middle of the wall with desks against the wall
on each side of the entry door. When in the back office and
facing the entry door, Jerome Nwabueze prepared the UCA’s 2020
Form 1040, U.S. Individual Income Tax Return at the desk to

the right of the door.

31) On the desk where Jerome Nwabueze prepared the UCA’s 2020
Form 1040, U.S. Individual Income Tax Return were three (3)
computer monitors, all of which appeared to be turned on. The
monitor Jerome Nwabueze used to prepare the UCA’s 2020 Form
1040, U.S. Individual Income Tax Return was on the far-right
side of the desk, and the other two monitors were to Jerome
Nwabueze’s left. The monitor directly to the left of Jerome
Nwabueze eventually showed a screen with the word, “Drake.”
The desk to the left of the door, where no one was sitting
when the UCA was in the room, had one (1) computer monitor
sitting onthe desk, but the display did not appear to be on.
Towards the back of the room, against the wall were multiple

filing cabinets.

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Internet Protocol Address

 

32) An Internet Protocol (IP) address is a unique address that is
associated with a specific computer or computer network. When
connected to the internet, the IP address allows the computers

to send and receive information.

33) An online search of IP address, 206.195.153.41, used to
transmit the UCA’s 2020 Form 1040, U.S. Individual Income Tax
Return to the IRS identified North State as the Internet
Service Provider (ISP). Documents obtained from North State
Telephone Company show that IP Address 206.195.153.41 was
assigned to an account in the name of “Jerome Nwabuezeunited
Tax Services” from March 24, 2021 through March 30, 2021. The
account address is listed as 1706 A W English Rd., High Point,
NC 29262. The contracts associated with this account list an
email address as jbnwas63@yahoo.com. An alternate user ID

bears the email florineflewis@yahoo.com.

Statements of Former Associate and Employee of Jerome
Nwabueze

Former Associate

34) On August 18, 2017, a former business associate of Jerome
Nwabueze, outlined claims where Jerome Nwabueze headed a
scheme filing false Forms 1040, U.S. Individual Income Tax
Returns. The former business associate’s initials are H.N.
H.N. said Jerome Nwabueze utilized three (3) different EIN’s
for three tax preparation, businesses whose names were AGJ &
Associates Tax Services, United Tax Services, and Total Tax
Services. Per HN. this activity took place starting in
January 2017 at 1016 English Rd., High Point, NC. H.N.

provided identifying information of prisoners to Jerome

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Nwabueze, which was used for the preparation of Forms 1040,
U.S. Individual Income Tax Returns. Jerome Nwabueze was
paying H.N. and others involved with procuring the information
a fee of $500-$1,000. Jerome Nwabueze also allegedly prepared
a fraudulent Form 1040, U.S. Individual Income Tax Return
using another individual’s personal identifiers that were
provided by H.N. Jerome Nwabueze allegedly prepared the Form
1040, U.S. Individual Income Tax Return with false Schedule C
information, and a false Form 8863 Education Credits. H.N
said he controlled the address used on the alleged false Form
1040, U.S. Individual Income Tax Return. H.N. alleged Jerome
Nwabueze signed the Form 1040, U.S. Individual Income Tax
Return as preparer and listed the firm name as United Tax

Services.

Former Employee

35) On February 28, 2020, a former employee of Jerome Nwabueze

contacted IRS-CI agents at the Greensboro, NC office, his/her
initials are Y.T. Y.T. provided he/she was hired by Jerome
Nwabueze in 2015 to prepare Forms 1040, U.S. Individual Income
Tax Returns at Jerome Nwabueze’s business. Y.T. worked one
tax season at 1706 A West English Rd. High Point, NC. Y.T.
obtained a PTIN, but never fully prepared tax returns. Y.T.’s
responsibility was to enter the client data into the Drake tax
software. Jerome Nwabueze later reviewed the information and

submitted the Forms 1040, U.S. Individual Income Tax Returns.

36) According to Y.T., if a client did not have any income,

Jerome Nwabueze created a Form W-2 Wage and Tax Statement or
Schedule C to add income to the client’s tax return.

Sometimes Jerome Nwabueze listed a cleaning business he

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operated as the employer on the false Forms W-2 Wage and Tax
Statement. Jerome Nwabueze purchased blank Forms W-2 Wage and
Tax Statements from Office Depot, and taught Y.T. how to make
a Form W-2 Wage and Tax Statement on the computer. Y.T. also
stated Jerome Nwabueze would add education credits to clients’
Forms 1040, U.S. Individual Income Tax Returns for schools

they did not attend.

37) Y.T. noted during the time working for NWABUEZE, the tax
preparation business operated under three different names.
Y.T. noted there were three computers, and each computer filed
tax returns as a separate business. Y.T. also noted client
files were kept at the business, and Y.T. was not aware of any

offsite storage of records while working there.
Preparer Tax Identification Number (PTIN)

38) SDC personnel retrieved PTINs and related information for

Michael Iheme Samuel, Jerome Nwabueze, and Florine Lewis.

39) Your affiant received information from the SDC on May 4, 2021
regarding PTIN P02220251. This PTIN is associated with
preparer Michael Iheme-Samuel. The PTIN was issued December
28, 2018 and is listed as active. The associated address with
PTIN P02220251 is 6015 Fergis Drive, Katy, TX 77449, and the
associated EFIN is 793023. The email address associated with

PTIN P02220251 is michaeliheme@yahoo.com.

40) Your affiant received information from the SDC on May 4, 2021
regarding PTIN P01251483. This PTIN is associated with
preparer Jerome Nwabueze. The PTIN was issued November 15,

2008 and is listed as active. The associated address with the
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PTIN P01251483 is 1706 W English Road Apt A, High Point, NC
27262, and no EFIN is associated with the PTIN. The email
address associated with PTIN P01251483 is Jbnwas63@yahoo.com.

41) Your affiant received information from the SDC on May 5, 2021
regarding PTIN P01550992. This PTIN is associated with
preparer Florine F Lewis. The PTIN was issued December 21,
2011 and is listed as Permanently Retired. The associated
address with the PTIN P01550992 is 3974 Cane Garden Drive,
Raleigh NC 27262, and the associated EFIN is 69634. The email
address associated with PTIN P01550992listed is
fflewis02@yahoo.com.

Analysis of Forms 1040, U.S. Individual Income Tax Returns

Filed Using the Assigned EFINs

42) The SDC provided data to this affiant relating to the EFINs
696304 assigned to Flew Services and 793023 assigned to Sammy

Holdings. The charts below summarize portions of the data.

43) As of December 11, 2020, EFIN 696304 (Flew Services) has been
used to file 2017 Forms 1040, U.S. Individual Income Tax
Returns and 2018 Forms 1040, U.S. Individual Income Tax

Returns.

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Flew Services (EFIN 696304) as of 2017 2018
See area of total returns filed Tax Tax
per listed category is in parentheses Returns Returns
Total Returns Filed 859 169
Total Returns Claiming American 746 (87%) 124 (73%)
Opportunity Credit (AOC)
Total Forms 1098-T Tuition Statement 120 (14%) 37 (22%)
Associated with Returns

| Total Returns Claiming Schedule C 167 (19%) ‘37 (22%)
Total Returns Claiming EITC 677 (79%) 125(74%)
Total Returns Claiming a Refund 856 (998) 165 (98%)
Total Refund Amount Claimed $4,945,285 $918,890

 

 

 

 

 

44) It should be noted the information contained in the above

chart was developed from data provided by the SDC and is
completely EFIN driven - that is, based solely on
electronically filed Forms 1040, U.S. Individual Income Tax
Returns submitted by the business. All returns shown in the
chart above list the firm address as 1706 A West English Rd.,
High Point, NC. Information obtained April 26, 2020, related
to the number of Forms 1098-T Tuition Statement filed by an
eligible educational institution on behalf of the taxpayer,
the taxpayer’s spouse, or the dependent claimed as an
exemption of the taxpayer. Information made available to your
affiant on May 4, 2021, reflects that in addition to the
electronically filed returns, Flew Services also filed a
combined total of 15 paper returns for the tax years 2017 and
2018. Of the paper returns, none resulted in a tax due and
owing to the IRS, and two resulted in neither a refund or a

tax owing - in essence, a case where the taxpayer had remitted

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the exact amount required to satisfy his or her calculated tax

obligation.

45) As of December 11, 2020, EFIN 793023

been used to file 2018 Forms 1040, U.S.

Returns, 2019 Forms 1040, U.S.

(Sammy Holdings) has

Individual Income Tax

Individual Income Tax Returns,

and 2020 Forms 1040, U.S. Individual Income Tax Returns.

 

 

 

 

 

 

 

 

 

 

 

 

Sammy Holdings (EFIN 793023) as 2018 2019 2020
of 12/11/2020 for 2018 and 2019 Tax Tax nie
Tax Returns and 05/04/2021 for

2020 Tax Returns. Returns Returns Returns
The percentage of total returns

filed per listed category is in

parentheses

Total Returns Filed 444 393 323
Total Returns Claiming AOC 356 (80%) 292 (74%) 197 (61%)
Total Forms 1098-T Tuition 64 (14%) 60 (15%) 51 (16%)
Statement Associated with

Returns

Total Returns Claiming Schedule 76 (17%) 118 (30%) 97 (30%)
Cc

Total Returns Claiming EITC 355 (80%) | 269 (683) 217 (67)
Total Returns Claiming a Refund 439 (99%) 384 (98%) 320 (99%)
Total Refund Amount Claimed $2,519, 304 | $1,875,186 | $1,742,942

 

46) It should be noted the information contained in the above

chart was developed from data provided by the SDC and is

completely EFIN driven - that is, based solely on

electronically filed Forms 1040, U.S.

Returns submitted by the business.

Individual Income Tax

Information obtained April

26, 2020, related to the number of Forms 1098-T Tuition

Statement filed by an eligible educational institution on

behalf of the taxpayer, the taxpayer’s spouse,

dependent claimed as an exemption of the taxpayer.

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or the

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Information obtained on May 4, 2021, related to the
electronically filed Forms 1040, U.S. Individual Income Tax
Returns submitted by the business for the 2020 tax year. Your
affiant also obtained the Forms 1098-T Tuition Statement for
the electronically filed returns for tax year 2020.
Information made available to your affiant on May 4, 2021,
reflects that in addition to the electronically filed returns,
Sammy Holdings also filed a combined total of 10 paper returns
for the tax years 2018 and 2019. Of the paper returns, none
resulted in a tax due and owing to the IRS, and four resulted
in neither a refund or a tax owing - in essence, a case where
he taxpayer had remitted the exact amount required to satisfy
his or her calculated’ tax obligation. No paper filed returns
were discovered for tax year 2020, but this could be due to a

delay in processing the paper filed returns at the IRS.

47) On May 13, 2021, the SDC compiled national and North Carolina

percentages of returns showing the AOC, Schedule C, EITC, and
claiming a refund. These percentages are compared below to

the data contained in the above tables for ease of comparison.

 

Tax Year 2017

 

 

 

 

Comparison % AOC % Schedule C % EITC % Refunds
Flew Services 87% 19% 19% 99%
North Carolina 9% 18% 21% 76%
Nation 5% 17% 18% 75%

 

Tax Year 2018

 

 

 

 

 

 

 

 

 

 

 

 

Comparison % AOC % Schedule Cc ‘& BITC % Refunds
Flew Services 73% 22% 14% 98%
Sammy Holdings 80% 17% 80% 99%
North Carolina 5% 18% ~ 20% 75%
Nation 5% 18% 17% TAS

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Tax Year 2019

 

 

 

 

Comparison % BOC % Schedule C % EITC % Refunds
Sammy Holdings 14% 30% 68% 98%
North Carolina 4% 17% 18% 71%
Nation 4% 16% 16% 70%

 

Tax Year 2020

 

 

 

 

Comparison % AOC % Schedule C % EITC % Refunds
Sammy Holdings 61% 30% 67% - 99%
North Carolina 4% 14% 21% 83%
Nation AS 14% 18% 81%

 

 

 

 

 

 

 

48) As shown on the charts above, the majority of the Forms 1040,
U.S. Individual Income Tax Returns filed using the EFINs for
Flew Services and Sammy Holdings for tax years 2017, 2018,
2019, and 2020 obtained the Earned Income Tax Credit (EITC).
The EITC is a tax credit for taxpayers who work and have
earned income under the EITC amount; allowable earned income
changes year to year. To qualify for EITC, you must meet
certain rules and file a Form 1040, U.S. Individual Income
Tax Return. The less earned income, the less EITC received.
Likewise, the more earned income, the more EITC received until
the taxpayer reaches the outer limitations of the earned
income for each filing status. The taxpayer must meet the
earned income, adjusted gross income (AGI), and investment
income limits (income limits change each year) each tax year

to qualify to receive the EITC.

49) As shown on the charts above, the majority of the Forms 1040,
U.S. Individual Income Tax Returns filed using the EFINs for
Flew Services and Sammy Holdings for tax years 2017, 2018,
2019, and 2020, obtained the American Opportunity Credit
(AOC). The AOC is a partially refundable tax credit which

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requires there to be paid educational expenses of a higher
education for an eligible student who is the taxpayer, the
taxpayer’s spouse, or the dependent claimed as an exemption of
the taxpayer. The AOC is only available for four (4) years

“per eligible student.

50) As shown on the charts above, the majority of the Forms 1040,
U.S. Individual Income Tax Returns filed using the EFINs for
Flew Services and Sammy Holdings for tax years 2017, 2018,
2019, and 2020, did not have the supporting Forms 1098-T |
Tuition Statement. Forms 1098-T Tuition Statement are issued
by an eligible educational institution, and are required to be
filed with the IRS for each student who is enrolled and a
reportable transaction is made. Reportable transactions
include, but are not limited to qualified tuition and related
expenses for a student to be enrolled at or attend an eligible
education institution. A falsified AOC would not have a
corresponding Form 1098-T Tuition Statement filed with the IRS

by the eligible education institution.

Analysis of Jerome Nwabueze’s Form 1040

U.S. Individual Income Tax Returns

51) A review of available IRS records shows Jerome Nwabueze most
recently filed 2017, 2018, 2019, and 2020 Forms 1040, U.S.
Individual Income Tax Return. Jerome Nwabueze has 1706 West
English Road Apt A listed as his home address on all of his
personal Forms 1040, U.S. Individual Income Tax Returns

discussed below.

52) Jerome Nwabueze’s 2017 Form 1040, U.S. Individual Income Tax

Return reported $20,323 in wages on line 7, $5,121 business

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loss on line 12, and claimed a refund of $4,356 on line 76a.
Attached Forms W-2 Wage and Tax Statements list “AGJ &
Associates” and “Real Time Staffing Srvcs” as Jerome
Nwabueze’s employers. The attached Schedule C Profit or Loss
From Business listed the principal business as “Group Health

Care Se.”

53) Jerome Nwabueze’s 2018 Form 1040, U.S. Individual Income Tax

Return reported $8,145 in wages on line 1, a Schedule C profit
of $7,557 on line 6, and claimed a refund of $559 on line 20a.
Attached Form W-2 Wage and Tax Statements list “United Tax
Services and Accounting” as Jerome Nwabueze’s employer. The
attached Schedule C Profit or Loss From Business lists the

principal business as “Trucking.”

54) Jerome Nwabueze’s 2019 Form 1040, U.S. Individual Income Tax

Return reported $8,871 in wages on line 1, a Schedule C income
of $18,988 on line 7a, a refundable AOC of $1,000 on line 18c,
and claimed a refund of $5,379 on line 2la. Attached Form W-2
Wage and Tax Statements list “United Services and Accounting”
as Jerome Nwabueze’s employer. The attached Schedule C
principal business is listed as “Trucking”. Attached Form
8863 Education Credits shows a refundable AOC in the amount of
$1,000, with the student’s name listed as Jerome Nwabueze and
education institution as the Los Angeles School of Homeopathy
Medicine. IRS records did not reflect any 2019 Form 1098-T
Tuition Statement from Los Angeles School of Homeopathy or any

other educational institutions.

55) Jerome Nwabueze’s 2020 Form 1040, U.S. Individual Income Tax

Return reported Schedule C income of $3,145 part of line 8,

Unemployment compensation of $26,450 part of line 8, a

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refundable AOC of $1,000 on line 29, and claimed a refund of
$3,569 on line 35a. The attached Schedule C principal
business is listed as “Health and Transporter”. IRS records
show a Form 1099-G Certain Government Payments was filed by
the North Carolina Department of Commerce Division of
Unemployment for Jerome Nwabueze showing $26,450 in
unemployment compensation. Attached Form 8863 Education
Credits shows a refundable AOC in the amount of $1,000, with
the student’s name listed as Jerome Nwabueze and education
institution as the Los Angeles School of Homeopathy Medicine.
IRS records did not reflect any 2020 Form 1098-T Tuition
Statement from Los Angeles School of Homeopathy or any other
educational institution. No records obtained show income

derived from tax preparation services.
Analysis of the Business’s Tax Filing History

Flew Services.

56) A review of available IRS records indicate Florine Lewis

reported income from Flew Services on a Schedule C Profit or
Loss From Business for tax years 2018 and 2019. The business
address is listed as 1706A West English Road, High Point, NC
27262. The Principal business is listed as accounting
services and bares the EIN XX-XXXXXXX. For tax year 2019,
Flew Services reported gross income of $112,146 and total
expenses of $100,384, yielding a profit of $11,762. For tax
year 2019, Flew Services reported gross income of $31,511 and

total expenses of $32,813, yielding a loss of $1,302.

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Sammy Holdings.

57) A review of available IRS indicate Michael Iheme Samuel

reported income from Sammy Holdings on a Schedule C Profit or
Loss From Business for tax years 2018, 2019, and 2020. The
business address is listed as 6015 Fergis Drive, Katy, TX
77449. The Principal business is listed as services and bares
the EIN XX-XXXXXXX. For tax year 2018, Sammy Holdings
reported gross income of $9,471 and total expenses of $18,732,
yielding a loss of $9,261. For tax year 2019, Sammy Holdings
reported gross income of $20,984 and total expenses of
$25,133, yielding a loss of $4,149. For tax year 2020, Sammy
Holdings reported gross income of $25,235 and total expenses

of $50,145, yielding a loss of $24,910.

Nature and Location of Evidence of Criminal Activity-Generally

58) Based upon my training, experience, and participation in

investigations involving violations of the Internal Revenue
laws and related offenses, and my discussions with special

agents involved in similar investigations, I know that:

A. Persons preparing tax returns for others in return for
compensation are required by law to keep, for three
years, a copy of the tax returns or a list of the names,
identification numbers, and tax years, of taxpayers for
whom tax returns were prepared (Title 26, United States

Code Sections 6107; Regulation Section 1.6107-1).

B. Accountants and return preparers generally keep books and
records to include work papers, worksheets, journals,

ledgers, bank records, receipts, bank statements, checks,

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deposit tickets, contracts, invoices, billing statements,
cash receipt and disbursement records, client
correspondence and research files, powers of attorney,
copies of tax returns, other forms prepared for clients,
and documentation of the information provided by the

taxpayer.

C. Accountants and return preparers often have computers and
related software to schedule, compute, prepare, print,
and store income tax returns, forms, documents, and other

information.

D. Return preparers often retain tax documentation from
previous years. For example, a return preparer preparing
a 2020 tax return may retain a client’s 2019 tax records

to assist in the preparation of the client’s 2020 return.

59) I know from my training and experience that individuals

involved in tax return preparation maintain financial records
including bank statements, tax returns, client files
containing supporting documents for tax returns, receipts of
income and expenditures, correspondence with business
associates and clients, and other related items. The
aforementioned documents and records are normally kept in one
of two forms, hardcopy and electronic. Hardcopy files are
typically kept in file cabinets and desk drawers. Individuals
involved in a tax return preparation often use computers and
other electronic devices as part of their record-keeping
measures, especially where businesses are involved.
Electronic records are normally generated and kept ona

computer or stored on some mobile electronic storage device.

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60) I know from my training and experience that it is not
uncommon for seasonal tax preparation businesses to reduce
their hours of operation, close, or operate by appointment
only after the tax filing deadline of April 15th. However the
tax filing deadline has been extended to May 17, 2021.

SEIZURE OF COMPUTERS AND RELATED EVIDENCE

- 61) I know documents, records and equipment can be in the form of
printed documents or stored in computer memory, digital
storage disks, or other digital storage media. Computer
memory is referred to interchangeably as digital storage

media.

62) The following is based upon your affiant’s knowledge,
training, and experience, and consultation with Special Agent
Kevin Wates, Computer Investigative Specialist, IRS-CI.
Special Agent Kevin Wates has received specialized training
regarding the seizure of computers and related evidence.
Special Agent Kevin Wates advised your affiant that computer
hardware, computer software, computer-related documentation,
passwords, and data security devised may be important to a
criminal investigation in three important respects: (1) as
instrumentalities for the violations of federal laws
enumerated herein; (2) as devices used in conjunction with the
collection and storage of electronic data and records related
to the alleged violations and (3) fruits of illegal activity.
Search and seizure of computer hardware, software,
documentation, passwords, and data security devices, either as
instrumentalities of criminal activity or as storage devices

for evidence thereof, is contemplated.

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63) Special Agent Kevin Wates advised that in order to completely
and accurately retrieve data maintained in computer hardware
or on computer software, to insure accuracy and completeness
of such data, and to prevent the loss of the data either from
accidental or programmed destruction, it is necessary to seize
the entire operating system, installed programs and data
stored on the computer media. The computer specialist will
attempt to obtain an image of the computer hard drives (that
is a “bit by bit” copy of the hard drive). This image allows
the seizure of the data without actually removing the hard
drive from the premises. However specific, permission is
requested from the Court to remove such equipment if necessary
to an off-site location, such as a computer forensic lab to
process and search the computer and related media. Once
imaged, the data is then processed in a secure off-site
environment by a qualified computer specialist. The offsite

analysis in required because of the following:

64) The volume of evidence. Computer storage devices (such as
hard disks, diskettes, tapes, laser disks, USB drives “thumb
drives”, etc.) can store the equivalent of thousands of pages
of information. Additionally, a user may seek to conceal
criminal evidence by storing it in random order with deceptive
file names. Searching authorities are thus required to
examine all the stored data to determine which particular
files are evidence or instrumentalities of criminal activity.
This sorting process can take weeks or months, depending on
the volume of data stored, and it would be impractical to

attempt this kind of data analysis “on-site.”

65) Analyzing computer systems for criminal evidence is a highly

technical process requiring specialized skills and a properly

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controlled environment. Since computer evidence is extremely
vulnerable to destruction (both from accidental or inadvertent
destruction and from destructive methods employed as a “booby
trap”), a controlled environment is essential to its complete

and accurate analysis.

66) Computer hardware is described as any and all computer
equipment, including any electronic devices which are capable
of collecting, analyzing, creating, displaying, converting,
storing, concealing, or transmitting electronic, magnetic,
optical, or similar computer impulses or data. These devices
include, but are not limited to, any data-processing hardware
(such as central processing units, self-contained “laptop or
notebook” computers, “tablets” and “smart-phones”); internal
and peripheral storage devices (such as fixed disks, external
hard disks, floppy disk drives and other memory storage
devices); peripheral input/output devices (such as Point of
Sale [POS] systems); as well as any devices, mechanisms, or
parts that can be used to restrict access to such hardware

(such as physical keys and locks).

67) Computer software is described as any and all information,
including any instructions, programs, or program code, stored
in the form of electronic, magnetic, optical, or other media
which are capable of being interpreted by a computer or its
related components. This software commonly includes operating
systems, programs/applications (such as word-processing,
graphics, spreadsheet programs, databases programs, accounting

and tax preparation software) and utilities.

68) Computer passwords and data security devices or software are

described as all those devices, programs, or data, whether

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themselves in the nature of hardware or software, that can be
used or is designed for use to restrict access to or
facilitate concealment of any computer hardware, computer

software, computer-related data.

69) The analysis of electronically stored data may entail any or

all of several different techniques. Such techniques may
include, but shall not be limited to, surveying various file
“directories” and the individual files they contain (analogous
to looking at the outside of a file cabinet for the markings
it contains and opening a drawer believed to contain pertinent
files)/ “opening” or reading the first few “pages” of such
files in order to determine their precise contents; “scanning”
storage areas to discover and possibly recover recently
deleted data; scanning storage areas for deliberately hidden
files; or performing electronic “key-word” searches through
all electronic storage areas to determine whether occurrences
of language contained in such storage areas exist that are
intimately related to the subject matter of the investigation
or in some instances operating a clone of the seized computer

to allow access to the installed programs and data.

70) The terms “records, documents, and materials, including those

used to facilitate communications” as used above shall also be
read to include any and all electronic information or
electronic data, stored in any form, which is used or has been
prepared for use either for periodic or random back-up
(whether deliberate or inadvertent, or automatically or
manually initiated), of any computer or computer system. The
form such information might take includes, but is not limited
to, hard drives, diskettes, tapes, USB (Universal Serial Bus)

storage media (Thumb drives), other solid state type storage

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media or any other media capable of storing information in a

form that can be read or interpreted by a computer.

71) All attempts will be made by the computer specialist to
obtain images of the computer’s hard drive and leave the
equipment intact at the search location. However, specific
permission is requested from the Court to remove such
equipment to an offsite location, such as the computer
specialist’s lab to process and search the computer and

related media.

Conclusion

72) In summary, based on the information contained in this
Affidavit, I conclude there is probable cause to believe that
the intentional preparation of false or fraudulent Forms 1040,
U.S. Individual Income Tax Return and the filing of these
false or fraudulent returns with the Internal Revenue Service
in violation of Title 26, United States Code, Sections 7206(1)
(Fraud and False Statements) and 7206(2) (Aid or Assist with
the Preparation or Presentation of a False or Fraudulent
Document), Title 18, United States Code, Section 287 (False,
Fictitious or Fraudulent Claims) and Section 371 (Conspiracy

to Defraud the United States) has occurred.

73) As shown above, on March 25, 2021, Jerome Nwabueze, a tax
return preparer associated with Sammy Holdings at 1706 West
English Rd., Suite A, High Point, NC, knowingly prepared a tax
return for an IRS-CI special agent acting in an undercover
capacity. The tax return preparer inserted false information
so as to secure a tax refund on a basis for which he knew the

UCA was not entitled. The return preparer filed the UCA’s

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return showing the AOC, as the return preparer well knew, the
UCA had not provided any information regarding being a student
or having postsecondary tuition or fee expenses as reported.
The tax return preparer prepared the return without having a
Form 1098-T Tuition Statement from an eligible education
institution. The return preparer also prepared the UCA’s
return showing a recovery rebate credit, after the UCA told
the return preparer the UCA had received his/her stimulus -

check.

74) I further submit there is probable cause to believe the
evidence and instrumentalities of these crimes, specifically
identified in Attachment B, are located at the business at
1706 West English Rd., Suite A, High Point, NC 27262, and
described more thoroughly in Attachment A.

Brett Barton, Special Agent

 

Internal Revenue Service

Criminal Investigation

Pursuant to Rule 4.1 of the Federal Rules of Criminal
Procedure, the affiant appeared before me via reliable
electronic means (telephone), was placed under oath, and
attested to the contents of this written affidavit. This
the 17th day of May, 2021 at 1:42pm.

N
Joe L. Webster

United States Magistrate Judge

Middle District of North Carolina
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Ae

2)

Attachment A
LOCATION TO BE SEARCHED

Total Tax Services

1706 West English Road, Suite A

High Point, North Carolina 27262

The premises known as the business location of Total Tax
Services is located at 1706 West English Road, Suite A, High
Point, NC 27262. The building is a single-story structure
with multiple businesses. The building is a brown in color
brick building with an awning over the entire front of the
building. Total Tax Services is the second business from the
left side of the building. There are glass windows that run
from the ceiling to floor of the business to the left of the
glass entrance door. The glass windows have curtains which
cover the entire glass windows. The glass door also has a
covering. All window and door framing has a silver in color
appearance. At the top of the glass door is a white sign with
black handwritten numbers and letters reading “1706-A.” There
is what appears to be a doorbell camera secured to the glass
above the doorframe. Secured on the inside of the window to
the left of the door is a white sign with what appears to be a
blue background of a house with cutouts of an individual
standing and one in a wheelchair. Secured outside the
business in front of the windows is a blue sign with white and
yellow lettering with letters, numbers, and dollar signs. A
grey/silver color mailbox is affixed to the brick to the right

of the glass door.
On Interstate 40 in Greensboro, NC travel East toward

Greensboro, NC. From Interstate 40, take exit 218A US-220
towards Business I-85 South. From US-220 take exit 79 for I-85

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Business South towards Charlotte/High Point. After merging
onto I-85 Business, take exit 118 to continue on I-85 Business
South towards High Point. From I-85 Business South take the W
Green Drive exit and travel 1/10 of a mile and turn left onto
Trinity Avenue. From Trinity Avenue travel 4/10 of a mile and
turn right onto Prospect Street. From Prospect Street drive 1
and 2/10 miles, and turn right onto West English Road. Once on
West English Road, travel approximately 3/10 of a mile and
1706 West English Road, Suite A, High Point, NC 27262 will be

on your left.

4) Front building view of 1706 and 1708 West English Road, High

Point, North Carolina.

 

 

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5) Front view of 1706 West English Road, Suite A, High Point,

North Carolina.

 

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6) View of sign near the road for Total Tax Services at 1706 West

English Road, Suite A, High Point, North Carolina.

HIFIESTA CREATION
FLORIST SHOP

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Attachment B
DESCRIPTION OF ITEMS TO BE SEIZED

Evidence of violations of Title 26, Section 7206(1) (Fraud and
False Statements) 7206(2) (Aid or Assist False or Fraudulent
Document), and Title 18, Section 287 (False, Fictitious or
Fraudulent Claims) and Section 371 (Conspiracy) as specified
herein, located on the premises of the businesses of Total Tax
Services, 1706 West English Road, Suite A, High Point, NC 27262,
for the tax years 2016, 2017, 2018, 2019 and 2020 and/or the
calendar years 2017, 2018, 2019, 2020 and 2021, as follows:

1. Client listing; appointment books; address books; planning
calendars; Rolodexes; notebooks; telephone number lists;
diaries; other papers reflecting names, addresses or
telephone numbers and/or any electronic handheld device

used to maintain such information.

2. Records reflecting the return preparer(s) associated with
the preparation of tax returns or tax refunds, including
records reflecting fees associated with the preparation of

tax returns.

3. The following records and documents related to the

preparation of income tax returns:

a. Forms 1040, U.S. Individual Income Tax Return and

attachments;

b. Forms 1040A, U.S. Individual Income Tax Return and

attachments;

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. Forms 1040X, Amended U.S. Individual Income Tax Return

and attachments;

. Tax forms such as Form 8812 Child Tax Credit, Form
8863 Education Credits, and Form 8867 Paid Preparer’s
Due Diligence Checklist that are associated with a
Form 1040 and/or Form 1040A, U.S. Individual Income

Tax Return;

. Tax schedules such as Schedule C Profit or Loss from
Business that are associated with a Form 1040, U.S.

Individual Income -Tax Return;

. Documentation corroborating that any dependents were
claimed on tax returns prepared by the subject
businesses, such as copies of Social Security cards

and school records;

. Tax forms such as Form W-2 Wage and Tax Statement, and

Form 1098 Tuition Statement;

. Work papers related to the preparation of individual

income tax returns;

. Client information sheets related to the preparation

of individual income tax returns;

}. Receipts, check stubs, profit loss statements, other

documents that appear to support income/deductions

claimed on a tax return and/or

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k. Correspondence or notes relating to the preparation
and filing of individual income tax returns.

4. All e-file, Electronic Filing Identification Number (EFIN),

Preparer Tax Identification Number (PTIN), Electronic
Return Originator (ERO) or Employer Identification Number
(EIN) applications for the businesses of Flew Services,
Sammy Holdings, Total Tax Services, and/or United Tax
Services return preparers, and affiliated business
entities. Records of fee structure for the preparation of
tax returns, Refund Anticipation Loans (RALs), other bank
products offered in relation to a tax refund, and any other

fees associated for every tax return prepared and/or filed.

. Records showing the names of tax software, purchase, lease,

rental, and agreement to use tax preparation software, to
include the fees associated with using such software and
the dates of use. Records showing the use of any tax

preparation software, internet sites, or other methods to

prepare and file tax returns.

. Back-up copies of tax returns and tax return data in

possession of Flew Services, Sammy Holdings, Total Tax

Services, and/or United Tax Services.

. Records of all refund anticipation loan services, RAL or

Refund Anticipation Check (RAC), or other bank services to
include bank names, bank routing numbers, and bank account
numbers. All agreements between Flew Services, Sammy
Holdings, Total Tax Services, and/or United Tax Services or
any other employee, principal or entity affiliated therein

to provide RAL, RAL processing services or intermediary

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o.

services, or any other refund related banking product to
include reloadable debit cards, checks, refund transfers,
or any similar type system for issuing tax refunds. Bank
and financial account applications, statements, checks, and
withdrawal and deposit slips, prepaid debit or credit

cards, and treasury checks issued for income tax refunds.

. Records of checks or currency paid by employees of Flew

Services, Sammy Holdings, Total Tax Services, and/or United
Tax Services to its clients in advance of the clients

refund for a fee.

Financial records to include bank statements, credit card
records, bank reconciliations, checks, cancelled checks,
check stubs, withdrawal slips, deposit records to include
deposit tickets, interest statements, official checks, wire
transfer records, and/or cash receipts where refund or

preparer fees may have been diverted.

10. Employee files (hired return preparers and office staff)

including all records of employee or contractor positions
and dates of employment. or contracts. All employment or
payroll records to include records disclosing the dates of
employment, wages or commissions paid, checks used for any
payments to the aforementioned individuals; Forms W-4
Employees Withholding Exemption Certificate; Forms W-2 Wage
and Tax Statements disclosing annual wages; Forms 1099 U.S.

Information Returns disclosing fees, and commissions paid.

11. If any record(s) and/or documents described in paragraphs

1 through 11 above are found in a file or folder, or some

other equivalent mode of storage such as an envelope, the

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entire contents of the file/folder, as well as the physical

file/folder, shall be seized.

12. All employee or contractor background records including

applications for employment, personnel files, discipline
records, and complaint records. All training records,
dates of training, certificates earned, degrees earned,
copies of training materials, instructions and/or work

guides.

13. Evidence of indicia of ownership including utility bills,

14.

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bank statements for Flew Services, Sammy Holdings, Total
Tax Services, and/or United Tax Services or employment
agreements for return preparers, supervisors, trainers or
those involved in the day-to-day operation of Flew
Services, Sammy Holdings, Total Tax Services, and/or United

Tax Services.

All communication relating to the clients’ tax returns or
tax refunds, of Flew Services, Sammy Holdings, Total Tax

Services, and/or United Tax Services.

. All communication between Michael Iheme Samuel, Florine

Lewis, Jerome Nwabueze, and others regarding the
preparation of tax returns and/or related refunds in the
possession of Sammy Holdings, Flew Services, Total Tax
Services, and/or United Tax Services to include emails
and/or electronic communication to include instant
messaging, text messaging or any other form of written

electronic communication whether in print format or

electronic format.

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16. IRS publications; regulations and or copies of IRS forms
and documents; IRS correspondence; and the Internal Revenue

Code.

17. PTIN, EIN and/or EFIN records including applications,
approval/rejection letters from the IRS, and/or
correspondence to/from any person, entities and/or the IRS
regarding the application, issuance, use, or misuse of a

PTIN or EFIN and/or noncompliance with e-file rules.

18. Certificates, diplomas or transcripts related to
graduation from programs or seminars related to the
preparation of income tax returns or knowledge of Federal

income tax law. Copies of training materials.

19. Any records, documents, materials and files described in
paragraphs 1-19 which are maintained on a computer. The
terms "records," "documents," "materials" and "files"
include all information preserved in any form, visual,
magnetic, electronic or aural, including the originals and
all non-identical copies thereof, whether different from
the original by reason of any notation made on such copies
or otherwise. . These definitions apply regardless of the
form in which such records, documents, materials and files,
including any drafts or modifications, may have been
created or stored, including (but not limited to) any
handmade form (such as writing, drawing, painting, with any
implement on any surface, directly or indirectly); any
photographic form (such as microfilm, microfiche, prints,
slides, negatives, videotapes, motion pictures,
photocopies); any mechanical form (such as writing,

printing or typing); any computerized, electrical,

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electronic, or magnetic form (such as tape recordings,
cassettes, compact discs, or any information on an
electronic or magnetic storage device, such as floppy
diskettes, hard disks, CD-ROMS, optical discs, printer
buffers, smart cards, memory calculators, personal digital
assistant (pda), electronic dealers, ZIP drives, or
electronic notebooks, as well as printouts or readouts from
any magnetic storage device), including information
preserved in files that have been "deleted" from computer

storage devices or facilities.

20. The term "computer," as used here, is defined as an
electronic, magnetic, optical, electrochemical, or
other high speed data processing device performing
logical or storage functions, and includes any data
storage facility or communications facility directly
related to or operating in conjunction with such

device

21. Agents are authorized to seize and remove from the
premises any computer hardware including computer
system input/output (I/0) peripheral devices and
software so that a qualified computer expert can
accurately retrieve the system’s data in a laboratory

or other controlled environment

22. Agents and computer analysts working with agents are
authorized to seize the relevant system software (operating
systems, interfaces, and hardware drivers), any
applications software which may have been used to create

the data (whether stored on hard drives or on external

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media), as well as all related instruction manuals or other
documentation and data security devices (including but not
limited to passwords, keycards, and dongles). In addition,
they are authorized to reconfigure the system as it now
operates in order to accurately retrieve the evidence

stored therein.

23. If, after inspecting the I/O devices, software,
documentation and data security devices, the analyst
determines that these are no longer necessary to retrieve
and preserve the date evidence, and the prosecutor
determines that they are not necessary to preserve as
instrumentalities of the crime, the items shall be returned
by them within a reasonable time unless a forfeiture action

is initiated against the property.

24. In regard to the inspection of computers and related
equipment contents for records, documents, materials and
files within the scope of this warrant, agents are
authorized to analyze the electronically stored data,
whether on-site or in a laboratory or other controlled
environment, using the following techniques, among others:
(a) surveying various file "directories" and the individual
files they contain, in order to locate evidence and
instrumentalities authorized for seizure by the warrant;

(b) “opening” or reading the first few "pages" of such
files in order to determine their precise contents; (c)
"Scanning" storage areas to discover and possibly recover
deleted data; (d) "scanning" storage areas for deliberately
hidden files; and (e) performing electronic "key word"

searches through all electronic storage areas to determine

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whether occurrences of language contained in such storage
areas exist that are intimately related to the subject

matter of the investigation.

25. This warrant specifically authorizes the creation of a
"mirror image" of a drive or other storage device or media
for use in an off-site search. In that event, the agents
are authorized to use the above search techniques, among

others, for said search.
26. Safes and locked containers. This warrant specifically

contemplates that such safes and locked containers can be

opened to be searched either on-site or off-site.

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